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July 8, 2022

VIA ECF
Honorable Judge Matthew W. McFarland
Potter Stewart U.S. Courthouse, Room 838
100 East Fifth Street
Cincinnati, Ohio 45202

       Re: Doster, et al. v. Kendall, et al, Case No.: 1:22-cv-00084

Dear Judge McFarland,

        We write respectfully seeking the Court’s input concerning the urgent need for relief for
several of the intervening plaintiffs who face imminent and irreparable harm.

        Since the filing of the motion to intervene on May 3, 2022, the United States Air Force
(Defendants) has accelerated their administrative, punitive, and separation actions against several
intervening plaintiffs. Concerned that their individual plights are getting lost in the larger plaintiff
group, some of the intervening plaintiffs facing imminent dismissal have requested that, absent
imminent relief, we withdraw them from this case and file an appropriate case(s) on their behalf
in an appropriate district(s). We have asked these intervening plaintiffs to wait until at least this
upcoming Wednesday, July 13, 2022, for this Court to rule on the request to intervene. This is the
latest date that would allow us, if needed, to withdraw them on the evening of July 13 and file a
new action seeking a TRO on July 14, 2022, possibly leaving just enough time to obtain relief.

         For example, yesterday, one intervening plaintiff was provided with his notice of
involuntary separation from the United States Air Force. If this action is not enjoined, he will be
separated in the next three weeks. Other intervening plaintiffs face similar circumstances,
prompting this correspondence beseeching the Court to provide guidance for the benefit of our
clients, all of whom have dedicated years of military service to our country, especially those facing
imminent harm.

       We therefore humbly and respectfully ask the Court if it intends to issue a decision on the
pending motion to intervene and corresponding injunctive relief before July 14, 2022. We
appreciate the Court’s indulgence in making this unorthodox request and the Court’s
understanding of the circumstances that compel this request.
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        If there are any questions, I can be reached via email at wcox@sirillp.com and via phone
at (830) 265-5622.


                                                     Sincerely,


                                                     Wendy Cox, Esq.


                                CERTIFICATE OF SERVICE

I certify that I have served a copy of the foregoing upon all Counsel of Record, this 8th day of
July, 2022, through service via CM/ECF.

                                                                            __/s/Wendy Cox___




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